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   9 UNITED PARCEL SERVICE, INC. and
  10
     DEBRA WALTON

  11                     UNITED STATES DISTRICT COURT
  12                   CENTRAL DISTRICT OF CALIFORNIA
  13

  14 RAYMOND RICHARDS, an                      Case No. 2:20-cv-2759-JFW-MAAx
  15
     individual,
                                               Assigned to Hon. John F. Walter
  16             Plaintiff,
                                               ORDER REGARDING
  17       v.                                  STIPULATION OF DISMISSAL
  18 UNITED PARCEL SERVICE, INC., an           Complaint Filed: February 19, 2020
     Ohio corporation; DEBRA WALTON,           Trial Date:      None Set
  19 an individual,

  20

  21             Defendants.
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                                                                    2:20-cv-2759-JFW-MAA
                     PROPOSED] ORDER REGARDING STIPULATION OF DISMISSAL
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                     November 5
